                       UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                               3:02CR94-11-M

UNITED STATES OF AMERICA            )
                                    )
            v.                      )                       ORDER
                                    )
ENRIQUE MARTINEZ ORTIZ,             )
                                    )
                  Defendant.        )
____________________________________)

         This matter is before the Court on the Government’s “Motion to Unseal Superseding

Indictment” (document # 486) in the above case, filed on September 20, 2006. For the reason stated

therein, the Motion is hereby GRANTED.

        SO ORDERED.




                                                Signed: September 21, 2006




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